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                                  ORIGINA L
                                                                             U .S           COURT
                      IN THE UNITED STATES DISTRICT COURT                           AUGUSTA 01Y.
                    FOR THE SOUTHERN DISTRICT OF GEORGIA                     2V AUG 22 Ph 12, 4 I
                                  AUGUSTA DIVISIO N

FELICIA LASHON GRANT ,

               Petitioner ,

       V.                                            CV 105-00 1
                                                      (Formerly CR 103-064-3 )
UNITED STATES OF AMERICA,

               Respondent .


                                        ORDER


       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation to which no objections have been filed . Accordingly,

the Report and Recommendation of the Magistrate Judge is ADOPTED as the opinion of

the Court . Therefore, Petitioner's 28 U.S.C. § 2255 motion is DENIED, this civil action i s

CLOSED, and a final judgment is ENTERED in favor of the Government .
                              s.
       SO ORDERED this .22 A'
                           day of August, 2006, at Augusta, Georgia .
